AO 455 (Rev. 01/09) Waiver of an Indictment

UNITED STATES DISTRICT COURT
for the
Eastern District of North Carolina

 

United States of America
Vv.
Jabari Devon Davis

Case No. 5:20-MJ-1572-RN

 

Defendant

WAIVER OF AN INDICTMENT

I understand that I have been accused of one or more offenses punishable by imprisonment for more than one
year. I was advised in open court of my rights and the nature of the proposed charges against me.

After receiving this advice, I waive my right to prosecution by indictment and consent to prosecution by
information.

  

Date: 6-25 -LEPLD

 

S\2 S signature
Signature of uy int's attorney

Bill 7

Printed name of defendant's attorney

 

 

Judge’s signature

 

Judge’s printed name and title

 
